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    EXHIBIT 2
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                             UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION



  STUDENTS FOR FAIR ADMISSIONS, INC,

                Plaintiff,

                v.

  PRESIDENT AND FELLOWS OF                               Civil Action No. 1:14-cv-14176-ADB
  HARVARD COLLEGE (HARVARD
  CORPORATION),                                          Leave to file granted on July 31, 2018
                Defendant.



                         DECLARATION OF ABA SAM
              (HARVARD-RADCLIFFE BLACK STUDENTS ASSOCIATION)

       Aba Sam, pursuant to 28 U.S.C. Section 1746, declares the following:

       1.      My name is Aba Sam. I am a member of Harvard College Class of 2021.

       2.      I am currently Vice President of the Harvard-Radcliffe Black Students Association

(“BSA”) and am submitting this declaration individually and on behalf of BSA in support of race

consciousness in Harvard College’s admissions policy.

       3.      BSA exists to foster community among Black students at Harvard College, as well

as to encourage interaction and facilitate dialogue among all members of the Harvard community,

and between the Harvard, Cambridge and Boston communities. Essentially, BSA organizes venues

and channels to provide a forum for the open expression of the political, social, and cultural views

of Black students. To this end, it provides a variety of programs and services to its membership

and the Black community at Harvard.




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       4.      BSA was established during the 1976-1977 academic year, in response to a call to

protest an article in the Harvard Lampoon. BSA replaced the Association of African and Afro-

American Students at Harvard and Radcliffe (“AFRO”). BSA aimed to present the Black student

perspective on various issues of concern at Harvard, such as affirmative action and the

development of Harvard’s Afro-American Studies Department. BSA strives to be an organization

that provides programming and support for all students that identify with the Black experience and

coordinates between many different Black student groups on campus.

       5.      BSA is responsible for planning welcome events for new Black students, including

a Black Convocation, which is a formal welcome into Harvard University to show freshmen that

Black students exist here and that Black excellence happens here. In 2003, the BSA published the

first Black Guide to Life at Harvard.

       6.      BSA works in coalition with other affinity groups to promote diversity and

inclusion, such as Fuerza Latina, the Asian American Students Association, and the First

Generation Student Union.

       7.      BSA members experience isolation in the social and academic spheres. For

example, some of our members who are STEM majors have particularly felt that they are treated

as if they have a lot to prove and that students are less willing to collaborate with them. In social

science classes, our members have also described how certain opinions are ascribed to them

because of race.

       8.       I am a pre-med major and I have experienced this isolation, particularly at the

beginning of a course. Sometimes, when I present an idea, it is ignored by other students until a

teaching fellow or a professor agree with me. That’s not something that’s new for me as a Black

student, but it is pretty pronounced in the first couple of weeks of a class before people know me



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as an individual. One thing that helped me maintain myself in these classes is the fact that there

were other Black students who I could lean on or speak to about these experiences. Having a

community of other Black students has been important to my academic wellbeing, particularly

during the first year.

        9.      In the social sphere, dorm life can sometimes be isolating for Black students. In my

section of the dorm last year, there were about 25 students. There were four Asian American

students and the remainder were white. Some people considered our entryway very diverse; I did

not. I was the only Black girl in the section, and I was the only Black girl in my suite. There was

one Black boy in my section.

        10.     Once, when I was styling my hair in my suite, some other girls walked in. When

they saw me unbraiding my hair, they screamed. They asked me a bunch of questions, such as “did

you cut your hair?” because they had never seen extension braids. They brought in other girls to

watch me. One said, “can you clean this up, this is dirty,” implying stereotypical ideas about Black

people that were very hurtful to me.

        11.     During my freshman year, I would go to parties or to concerts on campus and see

groups of white people singing the N-word. Sometimes those groups included some of the guys

from the section of my dorm. I would then enter my dorm and hear songs containing the N-word

blasting out of their rooms. It was frustrating and isolating to me. I never was able to work up the

courage to start a conversation because the problem is so systemic, and I knew the pressure would

be on me to stay calm.

        12.     During the 2017-2018 school year, one of my friends confided in me about an

experience that was a sobering reminder that college campuses are too often unsafe for Black

students. One night, my friend was walking from CVS back to her dorm. She began to hear some



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loud drunk people walking and singing behind her and she started to walk faster. She couldn’t hear

their entire conversation, but she did hear them say “Black person” multiple times. Then she heard

them say, “It’s a Black person! It’s a nigger, it’s a nigger.” In shock, my friend paused for a moment,

deciding whether to confront them and stand up for herself. However, they quickened their pace and

started chanting, “Hey nigger, come be our slave, come be our nigger slave.” At this point she was

scared and ran back to her dorm. She told me this story the next day. This deeply upsetting incident

had obviously weighed heavily on her and had impacted her ability to focus on work. Her story shows

how important it is for Black students not to be isolated. The bleak reality is that without a critical mass

of Black people on campus, students like my friend would be left feeling more isolated and helpless

than before.

        13.     In April 2018, there was an incident of police brutality against a Black Harvard

student by Cambridge police. It served as yet another reminder that college campuses can be unsafe

for Black students. In response, BSA held town halls and meetings to support students who were

upset by this incident. It was a significant academic and emotional stress for many Black students

at Harvard. Students at that time should have been only worried about studying for finals. Instead,

we were also fearing for our safety on campus. We were given really shallow excuses to justify

the beating of this Black kid and the reasons that Harvard police could not adequately take care of

the situation without external support.

        14.     When the incident happened, I had just been elected Vice President of BSA and a lot

of responsibility was put on our board. The President of BSA called me to say that we needed to write

a statement. I had to go to many meetings about the incident, trying to figure out what we could do. I

saw my Black peers stressed out and crying, struggling to figure out how to continue to go on with

their day. At the same time, we were under a lot of pressure to study for finals. If I had to relive that

next year or during the following years, it would be horrible. The planning and responsibility required


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to respond to issues of racial discrimination takes away from our chance to just be regular college

students.

       15.     The police brutality incident provides a prime example of why there needs to be a

critical mass of Black students on campus. If Harvard’s Black students were limited to just me and

a few others to deal with all of that, it would have been much more challenging to organize a

response and provide support for each other. A reduction in Black students on campus would be

very damaging for us.

       16.     At Harvard, Room 13 provides a space where students go to talk about feelings

anonymously. With everything going on, I decided to seek mental health support. There were two

white students there. They were good listeners, but as I was telling them about the police brutality

incident and other issues dealing with race, I could see the shock on their faces. Their eyes were

filled with sympathy, but their lack of knowledge made me more agitated about the entire situation.

       17.     When I returned to my dorm, I saw my roommates who were not Black enjoying

their evening, unaware of what had happened. During that entire incident, my entryway was having

an ice cream social. After experiencing the intense reaction of BSA students, not having the rest

of the college even acknowledge the incident for a full 24 hours was frustrating to say the least.

My saving grace was my proctor, who sent out letters to our entire entryway telling everyone to

be sensitive and summarizing the incident. But then, when other students were talking about the

incident, some said “I agree with them arresting the student,” or “yeah, maybe he was threatening.”

Hearing the incident discussed in this way, while many of my Black peers have been stressed out

all weekend, added to my frustration.

       18.     That same day as the incident, we had to go to a meeting with the Task Force on

Asian and Pacific American Studies about the Students for Fair Admissions v. Harvard case. It

felt exhausting to be speaking about ending race conscious admissions while discrimination

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against Black students remained so blatant. This affirmative action case makes me angry because

the implication that race is irrelevant in our academic experience is just the height of ignorance in

my opinion. The BSA Board went through this challenging period right before finals.

       19.      The Harvard administration needs to do more to support Black students and

students of color. Harvard has the office of Equity, Diversity, and Inclusion, which Harvard uses

to determine what all multicultural students need. However, this one office is definitely not

sufficient. A lot of the planning to organize town halls and meetings is essentially done by Black

students for Black students. But supporting students in times of need should not fall solely on the

students; it is Harvard’s responsibility to make campus safe and accessible.

       20.      Many organizations on campus have been trying to get a multicultural center at

Harvard—not just a center for Black students, but for all minority students. Despite widespread

support for a multicultural center, it has been difficult to get the support from the Harvard

administration, even though this conversation has been happening for years. In a place where a

Black student was beaten in the middle of the street, the Harvard administration has communicated

the message that they do not want to alienate white students by having a multicultural center and

are more concerned about whether those students feel uncomfortable or unsafe. Because we did

not have a physical multicultural center, Black students had nowhere to convene when the police

brutality incident occurred. Instead, we had to contact Black faculty to reserve a room, or we had

to have town halls off campus because BSA could not provide a space for students to come together

and organize.

       21.      Despite not having a physical building, BSA has really done a lot to provide a space

where Black students feel comfortable. It provides support in a way that Harvard does not do, even

though some faculty and administrators try.



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I declare under penalty of perjury that the foregoing is true and correct.

Executed on this day, July 24, 2018.



                                                      /s/ Aba Sam
                                                       Aba Sam




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